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                             UNITED STATES DISTRICT COURT
                             SOUTHERN DISTRICT OF FLORIDA

                            CASE NO. 21-60125-CIV-SCOLA/SNOW

  JIANGMEN BENLIDA PRINTED
  CIRCUIT CO., LTD.,

  Plaintiff

  v.

  CIRCUITRONIX, LLC,

  Defendant
  ____________________________________/

               DEFENDANT’S ANSWER AND AFFIRMATIVE DEFENSES TO
                  PLAINTIFF’S THIRD AMENDED COMPLAINT AND
                         DEFENDANT’S COUNTERCLAIM

                                              ANSWER

          Defendant, Circuitronix, LLC (“CTX”), through undersigned counsel, hereby answers

  Plaintiff’s Third Amended Complaint [DE 26] as follows:

          1.     ADMITTED that Jiangmen Benlida Printed Circuit Co., Ltd. (“Benlida”) is a

  corporation formed under the laws of, and with its principal place of business in, the People’s

  Republic of China. As to the remaining allegations, CTX lacks knowledge or information

  sufficient to form a belief about the truth of the allegations, and they are therefore DENIED.

          2.     CTX lacks knowledge or information sufficient to form a belief about the truth of

  the allegations, and they are therefore DENIED.

          3.     ADMITTED that ROK Printed Circuit Co. Ltd. (“ROK”) is a corporation formed

  under the laws of, and with its principal place of business in, the People’s Republic of China. As

  to the remaining allegations, CTX lacks knowledge or information sufficient to form a belief about

  the truth of the allegations, and they are therefore DENIED.

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         4.     CTX lacks knowledge or information sufficient to form a belief about the truth of

  the allegations, and they are therefore DENIED.

         5.     ADMITTED

         6.     ADMITTED

         7.     ADMITTED

         8.     DENIED

         9.     ADMITTED that the Court has jurisdiction under 28 U.S.C. § 1332 based on

  Plaintiff’s allegations, otherwise DENIED.

         10.    ADMITTED

         11.    DENIED

         12.    DENIED

         13 – 431.     DENIED

         432.   ADMITTED

         433.   ADMITTED that in December 2016 the parties discussed and partly agreed upon

  parameters for certain pricing adjustments, both increases and decreases, based upon various

  factors including lead time, production volume, and shipment volume, among other things.

  DENIED in all other respects.

         434.   DENIED

         435.   DENIED

         436.   DENIED

         437.   DENIED

         438 – 445.    DENIED

         446.   CTX repeats its responses to the prior allegations.



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          447.   ADMITTED that CTX ordered goods from Plaintiff pursuant to the terms of the

  parties’ contract, DENIED in all other respects.

          448.   ADMITTED that CTX agreed to pay the purchase price specified by the parties’

  contract and subject to its terms and conditions, including quality, delivery, and lead-time, among

  other things, and amounts stated in invoices subject to these considerations. DENIED in all other

  respects.

          449.   DENIED

          450.   ADMITTED

          451.   DENIED

          452.   DENIED

          453.   DENIED

          454.   DENIED

          455.   DENIED

          456.   DENIED

          457.   DENIED

                                        GENERAL DENIAL

          All allegations not specifically admitted or explained herein are denied and strict proof is

  demanded and required. CTX specifically denies all allegations in the Plaintiff’s wherefore clause,

  judgment demand, and prayer for relief, and denies that Plaintiff is entitled to any relief on any of

  its claims.

                                    AFFIRMATIVE DEFENSES

          1.     FIRST AFFIRMATIVE DEFENSE: SETOFF AND RECOUPMENT –

  Defendant asserts that the Plaintiff owes money or other valuable consideration to the Defendant,



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  and has not properly credited payments made by the Defendant, and that as a result the Defendant

  owes less than the amount claimed by the Plaintiff. Not only has CTX paid the alleged debt in

  full, CTX has provided Plaintiff with millions of dollars in advance payments, and has paid

  Plaintiff and its affiliate, ROK Printed Circuit Co. Ltd., in excess of $70 million. CTX maintains

  a significant credit balance due to overpayments that have accumulated over the course of the

  companies’ relationship. As a result, both Plaintiff and ROK owe Defendant millions of dollars.

         2.      SECOND AFFIRMATIVE DEFENSE: ACCORD AND SATISFACTION –

  Defendant asserts that the alleged account, debt, or contract has already been satisfied, the Plaintiff

  having received full satisfaction, as Defendant has paid the full amount owed under the parties’

  agreement or, as to some invoices, the Plaintiff has agreed to settle for less than the amount stated

  on the face of the invoice, and the Defendant has paid this amount. CTX maintains a significant

  credit balance due to overpayments that have accumulated over the course of the companies’

  relationship. As a result, both Plaintiff and ROK owe Defendant millions of dollars.

         3.      THIRD AFFIRMATIVE DEFENSE: STATUTE OF LIMITATIONS – The

  recovery in this case is barred by the statute of limitations, Florida Statute § 95.11. In particular,

  the statute bars any recovery for breach of a written contract after 5 years, and for breach of a

  verbal contract or account stated after 4 years. This case was filed on January 19, 2021. Although

  Plaintiff only asserts claims for unpaid invoices from 2018 to 2019, in reality Plaintiff is seeking

  to justify these false claims by asserting that the money Defendant paid for these invoices was used

  by Plaintiff to pay alleged debts from many years ago, prior to January 19, 2017 and prior to

  January 19, 2016. Thus, to the extent Plaintiff is seeking to recover for these older claims, or

  attempting to make an end run around the statute of limitations by tying payments for 2018 and

  2019 invoices to older claims, the recovery is barred by § 95.11.



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         4.      FOURTH AFFIRMATIVE DEFENSE: LACHES – The Defendant asserts that

  the Plaintiff has waited an unreasonably long time to file this lawsuit, and Defendant’s ability to

  defend the lawsuit has been unduly prejudiced by this unreasonable delay by denying Defendant

  access to documents and other physical evidence, and witnesses with a reasonably fresh

  recollection of the events underlying this lawsuit.

         5.      FIFTH AFFIRMATIVE DEFENSE: WAIVER AND RELEASE – The

  Defendant asserts that the Plaintiff specifically represented to the Defendant that the sums now

  claimed by the Plaintiff, and sums for prior invoices, were paid by the Defendant, or that a

  substantially smaller amount was owed. Plaintiff has, through its actions and representations,

  waived and released its right to sue on these amounts and therefore cannot sustain this action.

         6.      SIXTH AFFIRMATIVE DEFENSE: EQUITABLE ESTOPPEL – The

  Defendant asserts that the Plaintiff specifically represented to the Defendant that the sums now

  claimed by the Plaintiff, and sums for prior invoices, were paid by the Defendant, or that a

  substantially smaller amount was owed.           The Defendant reasonably relied upon these

  representations to its detriment by continuing to do business with Plaintiff, and continuing to make

  additional payments and advance additional sums of money, which Plaintiff now fails to credit to

  Defendant’s account. Defendant requests that the Court decide this case as though Plaintiff’s prior

  representations were true.

         7.      DEFENSES RESERVED: – The foregoing affirmative defenses are raised by

  Defendant without waiver of any other defenses that may come to light during the discovery

  proceedings in this case or otherwise. Defendant hereby reserves the right to amend or supplement

  its answer and to assert any other related defenses as they become available.




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                                  DEMAND FOR JURY TRIAL

         Defendant demands a jury trial on all matters so triable.

                                      PRAYER FOR RELIEF

         Wherefore, Defendant requests that the Court enter judgment in favor of Defendant,

  Circuitronix, LLC, and against Plaintiff, as to all causes of action, and that the Court award

  Defendant its attorneys’ fees and costs.

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                                          COUNTERCLAIM

         Defendant / Counterclaim Plaintiff, Circuitronix, LLC (“CTX”) sues Plaintiff /

  Counterclaim Defendant, Jiangmen Benlida Printed Circuit Co., Ltd. (“Benlida”), and alleges:

                                           INTRODUCTION

          1.         This is an action by CTX against Benlida for breach of contract and breach of

   fiduciary duty.

          2.         CTX and Benlida are parties to a written contract governed by Florida law, the

   Standard Manufacturing And Representation Agreement, dated March 1, 2012 (the

   “Manufacturing Agreement”). [DE 15-1]. The contract concerns the manufacture, distribution

   and sale of printed circuit boards (“PCBs”), related electronic and industrial components, and

   related contract manufacturing work and services.

          3.         The parties subsequently entered into a Letter Agreement, dated July 21, 2016,

   that added Circuitronix Hong Kong, Ltd. (“CTX-HK”) as an additional party to the

   Manufacturing Agreement, among other things. [DE 15-2].

          4.         CTX and Benlida also entered into an express fiduciary relationship, with

   Benlida acting as CTX’s agent. [DE 15-2 at ¶ 3]. Accordingly, Benlida undertook contractual,

   common law, and statutory duties of good faith, fair dealing, loyalty, and care. Id.

          5.         Over a period of years, Benlida materially breached its contract with CTX and

   violated applicable law by, among other things, failing to adhere to its promises, materially

   breaching contractual terms governing pricing, delivery, and payment, and materially

   breaching its fiduciary duties by accepting and retaining, but failing to properly credit, millions

   of dollars in payments made by CTX.


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                                                PARTIES

   CTX

           6.      CTX is a Florida limited liability company with its corporate headquarters and

   principal place of business in Fort Lauderdale, Florida.

           7.      CTX specializes in the manufacture, sale and distribution of PCBs for a variety

   of applications, including automotive, industrial, lighting, and security systems. It also engages

   in a variety of other lines of business, including contract manufacturing, electronic

   manufacturing services, plastic injection molded parts, rubber parts, metal parts, PCBA (printed

   circuit board assembly), and polymer thick film technology for laminate substrates.

           8.      Rishi Kukreja is the sole member of CTX, and is a citizen of Florida.

   BENLIDA

           9.      Benlida is a corporation formed under the laws of, and with its principal place of

   business in, the People’s Republic of China. [DE 26 at ¶¶ 1-2].

           10.     Benlida is engaged in the business of manufacturing PCBs and providing contract

   manufacturing related work and services involving PCBs.

                                   JURISDICTION AND VENUE

           11.     The Court has jurisdiction over the subject matter of this action under 28 U.S.C.

   § 1332 and § 1367.

           12.     This diversity action involves damages in excess of $75,000 and is between

   a citizen of Florida and citizens or subjects of a foreign state.

           13.     Venue is proper in this district under 28 U.S.C. § 1391. A substantial part of the

   events or omissions giving rise to the claims occurred in the Southern District of Florida. Further,

   Benlida contractually agreed to irrevocably submit to jurisdiction and venue in this district.

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          14.     All conditions precedent to bringing this action have occurred or have been waived.

                                    GENERAL ALLEGATIONS

   BACKGROUND

          15.     CTX is an American business that specializes in the global manufacturing, sale

   and distribution of PCBs for a variety of applications, including automotive, industrial, lighting,

   and security systems, among other things.

          16.     Benlida is a foreign PCB manufacturing company that owns, operates or

   contracts with PCB factories located in the People’s Republic of China.

          17.     A printed circuit board is a physical base made for connecting, supporting, and

   stabilizing electronic components. PCBs are primarily made of a material that does not conduct

   electricity, such as plastic or fiberglass. Material that conducts electricity, such as copper or

   gold, is then etched (set in thin lines) either inside the board between the layers of non-

   conductive material, or on the surface of the board. This enables the flow of electricity. Electronic

   components are then attached to the PCB. The conductive metal etched into the PCB allows

   electricity to travel from one component to another in electrical circuits.

          18.     PCBs are used in almost all computers and electronic devices today, with a global

   market of over $60 billion per year.

   THE MANUFACTURING AGREEMENT

          19.     Benlida, and its foreign affiliate ROK Printed Circuit Co., Ltd. (“ROK”) entered

   into a written contract with CTX, titled the Manufacturing Agreement, for the sale, marketing,

   manufacturing and distribution of PCBs and related components and services. See DE 15-1.

          20.     Under the terms of the Manufacturing Agreement, the “Product” to be marketed,

   manufactured and sold included “any contract manufacturing related work or services provided

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    by Manufacturer [i.e., Benlida or ROK] or any associated entities .” See Id., at § 1.1.

            21.      Pursuant to the Manufacturing Agreement, CTX agreed to purchase PCBs from

    Benlida and perform global sales and marketing for PCBs on an exclusive basis for specific

    customers identified or introduced by CTX. See Id., at §§ 1.1 – 1.7.

            22.     In return, Benlida agreed to manufacture the Product for CTX and the exclusive

    customers identified by CTX. See Id.

            23.     Benlida also agreed that it would accept and fulfill purchase orders for CTX and

    customers identified by CTX based on the pricing matrix and delivery terms agreed upon by the

    parties in the contract. See Id., at §§ 2.1 – 3.5.

            24.     Under the contract, any proposed price increase requires no less than four months

    of prior written notice, and such proposed increases are required to be justified by an increase

    in the cost parameters set forth in the pricing matrix. See Id., at § 2.2.

            25.     Benlida further agreed not to do business, directly or indirectly, with any

    customers identified by CTX (defined in the Manufacturing Agreement as either “Identified

    Potential Customers”or “Exclusive Circuitronix Customers”), other than through CTX. In other

    words, Benlida agreed not to circumvent CTX by selling products directly to the customers

    obtained through the work of CTX. See Id., at § 1.6.

            26.     Benlida further agreed not to disclose or make any commercial use of

    confidential information or trade secrets of CTX, without its prior written consent, recognizing

    that immediate and irreparable damage would result from a breach. See Id., at § 8.1.

            27.     By entering into the subsequent Letter Agreement, Benlida expressly agreed to

    act as the agent of CTX for purposes of manufacturing products for CTX and its exclusive

    customers. See [DE 15-2] at § 3.



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            28.       Pursuant to the Letter Agreement, Benlida expressly acknowledged and agreed

    to undertake fiduciary duties including “a contractual, common law and statutory duty of good

    faith, fair dealing, loyalty, and care.” See [DE 15-2] at § 3. Benlida further agreed that it “shall

    subordinate and refrain from acting on any of its desires that may adversely affect CTX USA’s

    interests.” Id.

    CTX’S PERFORMANCE, PAYMENTS, AND CREDIT BALANCE

            29.       In the ensuing years following execution of the Manufacturing Agreement, the

    parties have conducted substantial business together, with payments from CTX to Benlida and

    ROK in excess of $70 million as of early 2021.

            30.       CTX’s payments have been made by numerous regular monthly wire transfers

    from bank accounts held by CTX to accounts specified by Benlida. In some cases, Benlida has

    instructed CTX to make payments for Benlida invoices to its affiliate, ROK. 1 These monthly

    wire transfers have resulted in CTX paying Benlida and ROK millions of dollars annually, and

    tens of millions over the course of the parties’ business relationship.

            31.       In addition to making payments, CTX provides Benlida with a monthly

    reconciliation statement that shows: (1) the amount paid by CTX that month, (2) the invoices

    that are being paid, (3) the credit balance of CTX’s account, and (4) the banking records

    confirming the payment amounts. See, e.g., DE 15-4.

            32.       Often, the monthly wire payments made by CTX to Benlida exceed the amount

    of monthly invoices, resulting in a credit balance in favor of CTX that carries over to the



   1 At various times, Benlida has indicated that it and its affiliates were not in compliance with the

   tax and customs law of the People’s Republic of China, due to not reporting contractual and
   mutually accepted credit notes that had been provided, causing income to be overstated, and was
   moving funds between Benlida and ROK in an effort to rectify this problem. We believe that this
   lawsuit is partly an effort to justify some of those actions.
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    following month. See Id. (showing monthly payment from CTX of $1.2 million against monthly

    invoices from Benlida totaling only $840,661.50).

           33.     In fact, since August, 2019, CTX has prepaid for all orders with Benlida and

    ROK, meaning that all purchase orders and invoices have been paid in full even before Benlida

    or ROK ship the product to CTX.

           34.     Thus, CTX has not only fully and timely paid Benlida and ROK for all shipments

    and invoices pursuant to the terms of the Manufacturing Agreement and Letter Agreement, but

    CTX currently maintains a significant credit balance due to overpayments that have

    accumulated over the course of the companies’ relationship.         This fact is confirmed by

    commercial records, banking records, as well as regular correspondence and communication

    between the companies, all of which demonstrate that CTX has substantially overpaid both

    Benlida and ROK, each by an amount in excess of $1 million.

           35.     Further, CTX’s credit balance is even higher than these base payment balances,

    because of additional accumulated credits due to contractual lead-time violations by Benlida and

    ROK. Pursuant to the parties’ agreements, late shipments by Benlida and ROK, beyond the

    contractually specified lead-time, result in specified price discounts agreed to by the parties

    (referred to in the industry as “lead-time penalties”). The amount of the price discount depends

    on the length of the lead-time violation, with longer delays resulting in higher price discounts

    according to the parties’ agreement.

           36.     However, Benlida fails to recognize CTX’s overpayments and resulting credit

    balance, and in fact now claims that CTX has not paid hundreds of invoices and owes Benlida

    enormous sums of additional money. [DE 26].




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    BENLIDA’S BREACHES

           37.     Benlida has materially breached several provisions of the Manufacturing

    Agreement and Letter Agreement, including terms governing pricing, delivery, and payment.

           38.         In addition, Benlida has materially breached its fiduciary duties to CTX,

    including the duty of loyalty, by accepting and retaining, but failing to properly credit, millions

    of dollars in payments made by CTX. Benlida has further breached its fiduciary duties to CTX

    by improperly demanding advance prepayments, overpayments, and payment premiums, in

    excess of the contractual price terms agreed by the parties, and threatened to cancel deliveries

    or shut down production if CTX failed to comply with these improper demands.

           39.     In particular, after signing the Manufacturing Agreement, Benlida repeatedly and

    systematically began breaching the contract by, among other things:

                  a.         improperly demanding price increases that are contrary to the terms of

    the Manufacturing Agreement, specifically Sections 2.1 and 2.2. In particular, Benlida is

    required to provide written notice at least 4 months in advance of any proposed price change,

    and continue fulfilling orders under the original agreed price terms during that entire period.

    Further, any proposed price change “must be justified by demonstrating a price increase in the

    parameters which form the base of the Pricing Matrix.” See [DE 15-1], at § 2.2. Contrary to the

    terms of the Manufacturing Agreement, Benlida has demanded exorbitant price increases without

    providing written notice at least 4 months in advance. Further, Benlida has not demonstrated

    that these proposed increases are justified by corresponding increases in the parameters that

    form the Manufacturing Agreement’s pricing matrix. Benlida has improperly demanded these

    price increases and refused to perform under the price terms included in the Manufacturing

    Agreement.



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                 b.        failing to fulfill contractually required lead times in accordance with

    Section 3 of the Manufacturing Agreement. At least 250 orders from December, 2016, to 2021,

    have been delivered beyond the required lead time, in material breach of the delivery

    requirements of the Manufacturing Agreement. Benlida’s failure to deliver on time pursuant to

    the contract has resulted in contractual lead-time penalties in excess of $1 million.

                 c.        by accepting and retaining, but failing to properly credit, millions of

    dollars in payments made by CTX, in violation of Section 4 of the Manufacturing Agreement,

    as well as the fiduciary duty clause memorialized in Section 3 of the Letter Agreement. In

    particular, despite the fact that CTX maintains a credit balance of over $1 million due to

    accumulated overpayments with Benlida, which Benlida has accepted and retained, and despite

    the fact that CTX has fully paid for all of the invoices identified in Benlida’s Third Amended

    Complaint [DE 26], Benlida refuses to recognize or credit these payments and falsely claims

    that these hundreds of invoices have not been paid and that CTX owes Benlida additional

    millions.

                 d.        by repeatedly demanding prepayments, advance payments, and payment

    premiums, in violation of Section 2 and Section 4 of the Manufacturing Agreement, as well as

    Section 3 of the Letter Agreement, and threatening to cancel orders or halt production unless

    CTX complied with Benlida’s improper demands.

                 e.        disclosing CTX’s confidential information and trade secrets, including

    pricing information, to other PCB suppliers and manufacturers in China, in violation of Section

    8 of the Manufacturing Agreement and Section 3 of the Letter Agreement as part of a

    coordinated effort to get multiple PCB suppliers to gang up on CTX and demand higher prices

    and other commercial concessions.



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              40.    Further, Benlida has materially breached its fiduciary duties by, among other

    things:

                    a.      improperly demanding price increases that are contrary to the terms of

    the parties’ agreements, in violation of its fiduciary duties of good faith, fair dealing, loyalty and

    due care.

                    b.      failing to fulfill contractually required lead times, in violation of the

    fiduciary duty of due care.

                    c.      by accepting and retaining, but failing to properly credit, millions of

    dollars in payments made by CTX in violation of its fiduciary duties of good faith, fair dealing,

    loyalty and due care.

                    d.      demanding improper prepayments, advance payments, and payment

    premiums and threatening to cancel orders or halt production unless CTX complies with these

    improper demands, in violation of its fiduciary duties of good faith, fair dealing, and loyalty.

                    e.      communicating and corresponding with other PCB suppliers and

    manufacturers in China in a coordinated effort to get multiple PCB suppliers to gang up on CTX

    and demand higher prices and other commercial concessions in violation of its fiduciary duties

    of good faith, fair dealing, and loyalty.

              41.    These breaches of contract and Benlida’s fiduciary duties are continuing in nature

    and recurrent and have resulted in damages to CTX that exceed $1 million.

                                  COUNT I (BREACH OF CONTRACT)

              42.    CTX realleges Paragraphs 1 through 41.

              43.    Benlida entered into valid, binding and enforceable written contracts with CTX

    (the Manufacturing Agreement and the Letter Agreement).



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           44.     Benlida materially breached these contracts (see supra ¶¶ 37-41).

           45.     Benlida’s breaches have caused damage to CTX in excess of $75,000.

           46.     CTX is entitled to recover its damages against Benlida, including attorneys’ fees

    and costs pursuant to Section 13.5 of the Manufacturing Agreement.

          WHEREFORE, CTX requests the Court to enter judgment in its favor and against

   Benlida, for damages, pre-judgment and post-judgment interest, attorneys’ fees and costs,

   injunctive relief, and such further relief as the Court deems just and appropriate.

                           COUNT II (BREACH OF FIDUCIARY DUTY)

           47.     CTX realleges Paragraphs 1 through 41.

           48.     Benlida owed contractual, common law, and statutory fiduciary duties to CTX,

    including duties of good faith, fair dealing, loyalty, and care.

           49.     Benlida’s fiduciary duties are expressly recognized and agreed in Section 3 of

    the Letter Agreement.     Further, by accepting and retaining substantial overpayments and

    prepayments made by CTX, Benlida became obligated to safeguard those funds for the benefit

    of CTX as its fiduciary and not take possession of those funds or expend them for its own benefit.

           50.     Benlida materially breached its fiduciary duties (see supra ¶¶ 37-41).

           51.     Benlida’s breaches of fiduciary duty have caused damage to CTX in excess of

    $75,000.

           52.     CTX is entitled to recover its damages against Benlida, including punitive

    damages, and attorneys’ fees and costs pursuant to Section 13.5 of the Manufacturing

    Agreement.

          WHEREFORE, CTX requests the Court to enter judgment in its favor and against

   Benlida, for damages, including punitive damages, pre-judgment and post-judgment interest,


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   attorneys’ fees and costs, injunctive relief and such further relief as the Court deems just and

   appropriate.

                                    DEMAND FOR JURY TRIAL

           CTX demands a jury trial on all matters so triable.

                                       PRAYER FOR RELIEF

          WHEREFORE, CTX demands judgment against Benlida, for damages, including punitive

   damages, pre-judgment and post-judgment interest, the costs of suit, including attorneys’ fees and

   costs, and any such other, further relief as the Court deems just and appropriate.



   Dated: October 15, 2021                               Respectfully submitted


                                                         CHAUNCEY COLE, PA
                                                         Counsel for Circuitronix, LLC
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                                                         By: /s/ Chauncey D. Cole IV
                                                         Chauncey D. Cole, IV, Esq.
                                                         Florida Bar No. 102184
                                                         chauncey.cole@coletrial.com

                                    CERTIFICATE OF SERVICE

          I HEREBY CERTIFY that a true copy of the foregoing has been served via transmission of
   Notices of Electronic Filing generated by CM/ECF on October 15, 2021 as filed with the Clerk of the
   Court using CM/ECF.                          By: /s/ Chauncey D. Cole IV___
                                                 Chauncey D. Cole IV




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